USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1313       filed 01/12/15   page 1 of
                                             33

                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

 UNITED STATES OF AMERICA                    )
                                             )
        v.                                   ) 2:11-cr-00077-PPS
                                             )
 JUAN BRISEÑO                                )

                                 OPINION AND ORDER

        The government seeks the death penalty against defendant Juan Briseño having

 filed a notice of intent to seek it pursuant to 28 U.S.C. § 3593(a) (the “NOI”), which was

 later supplemented. (Docket Entries 503, 968, 995). Presently before me is the

 defendant’s Motion to Strike the Notice. (DE 1027.) I held a hearing on Briseño’s motion,

 and after carefully considering the briefing and arguments presented to me, I will grant

 in part and deny in part the motion.

                                     BACKGROUND

        The Fourth Superseding Indictment alleges that Briseño was a member of the

 Almighty Imperial Gangsters (the “IGs”), an organized street gang. The gang is alleged

 to have been a racketeering enterprise consisting of many members who conspired to

 commit (and did in fact commit) various criminal acts in furtherance of the enterprise

 including murders, attempted murders, robberies, batteries, and widespread drug

 dealing. The IGs were active in Northwest Indiana from at least February 2002 through

 the date of the Superseding Indictment (DE 652) in September 2013. They had various
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313       filed 01/12/15    page 2 of
                                              33

 gang identifiers, including hand gestures, gang words, symbols and colors. The

 government alleges that the IGs were strongly hierarchical, and had various gang rules

 the violation of which could be met with harsh disciplinary measures. One of the

 alleged gang rules was obeying “shoot-on-sight” or “kill-on-sight” orders issued against

 rival gang members and IGs suspected of cooperating with law enforcement.

        The Indictment details the alleged manner and means of the conspiracy. It also

 lists many overt acts that the government alleges were committed in furtherance of the

 conspiracy. The government has also filed a series of documents explaining the

 enterprise allegations against Briseño. (DE 732, 1066, 1198.) These filings list additional,

 uncharged overt acts of which the government intends to offer evidence in support of

 the criminal enterprise conspiracy charge.

        In addition to the racketeering conspiracy charge, Briseño is charged with six

 murders, seven attempted murders (see DE 1062 at 26), and trafficking cocaine and

 marijuana. Each of the murders is charged under 18 U.S.C. § 1959(a)(1) — the federal

 criminal code section that outlaws murder in aid of racketeering. (See DE 652).

        Briseño was charged along with more than 20 co-conspirators, all but one of

 whom have pleaded guilty; Richard Reyes went to trial early in 2014 and was convicted

 of murder, among other charges. Briseño was the only defendant against whom the




                                              2
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1313         filed 01/12/15     page 3 of
                                                33

 government sought the death penalty. No other defendant came close to Briseño’s

 alleged six murders and seven attempts.

        The Grand Jury also made the special findings required for the government to

 seek the death penalty for each of the murders charged against Briseño under the

 Federal Death Penalty Act of 1994 (“FDPA”). Before the government can lawfully seek

 the death penalty in a given case, the grand jury must find that the defendant had at

 least one of four possible gateway, or threshold, intents in committing the acts that led

 to death, 18 U.S.C. § 3591(a)(2)(A)-(D), and that at least one statutory aggravating factor

 was present, 18 U.S.C. § 3592(c)(5), (9), (16). A finding of at least one gateway intent and

 one statutory aggravator is said to render a defendant “death eligible.” The phrase

 “death eligible” is, in my opinion, a rather unfortunate one, and by using it I don’t mean

 to be flippant. That’s the nomenclature that has arisen in this area of law and, for that

 reason alone, I will use it as well. See, e.g., Tuilaepa v. Cal., 512 U.S. 967, 971-72 (1994).

        For each of the six murders charged against Briseño, the Indictment finds all four

 forms of intent and at least one statutory aggravating factor. The statutory aggravating

 factor common to all six murder charges is that the offense was committed after

 substantial planning and premeditation to cause the death of a person. 18 U.S.C. §

 3592(c)(9). Briseño’s motion challenges this aggravating factor, and seeks particulars

 about its application to each of the murder counts. Some of the murder charges list



                                                 3
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1313       filed 01/12/15    page 4 of
                                             33

 additional aggravating factors: in the commission of the offense, or in escaping

 apprehension for it, the defendant knowingly created a grave risk of death to one or

 more people apart from the murder victim, 18 U.S.C. § 3592(c)(5); and the defendant

 intentionally killed or attempted to kill more than one person in a single criminal

 episode, 18 U.S.C. § 3592(c)(16). These other two statutory aggravators aren’t challenged

 in the current motion, so I won’t address them in this Order.

        Apart from the Indictment, before it can lawfully seek the death penalty, the

 government must give notice to the defendant of all of the aggravating factors of which

 the government intends to present evidence. 18 U.S.C. § 3593(a). The government does

 this by filing an NOI. The NOI in this case lists all four possible gateway intents for each

 of the six charged murders. The NOI also lists both the statutory aggravating factors for

 each murder listed in the Indictment, and additional non-statutory aggravating factors.

 The alleged non-statutory aggravating factors are the same for each of the six murders.

 Here they are:

        1.     Briseño is a continuing danger to the lives and safety of other and is likely
               to commit criminal acts of violence in the future as evidenced by:

                      a.     A low potential for rehabilitation as demonstrated by
                             repeated violent criminal acts;

                      b.     A willingness to take human life and a lack of remorse for
                             his acts of violence as demonstrated by statements he made
                             following these acts;




                                              4
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313        filed 01/12/15    page 5 of
                                              33

                      c.     His stated desire to impose a rule requiring fellow members
                             of the IGs to shoot at rivals on sight;

        2.     Briseño faces contemporaneous convictions for other criminal activity,
               including other murders and attempted murders;

        3.     Briseño demonstrated an allegiance to and active membership in the IG
               street gang;

        4.     Briseño caused injury, harm and loss to the victim and the victim’s family
               and friends, as evidenced by the victim’s personal characteristics and by
               the impact of the victim’s death upon his family and friends.

 Briseño challenges the non-statutory aggravators of victim impact and future

 dangerousness, as well as the lack of remorse sub-factor.

        If, at trial, the jury finds Briseño guilty of a death-eligible charge then there must

 be a separate sentencing hearing, or penalty phase of trial. During the sentencing the

 jury hears evidence of mitigating factors and aggravating factors (both statutory and

 non-statutory) and determines whether the aggravating factors sufficiently outweigh

 the mitigating factors to justify a sentence of death. 18 U.S.C. § 3593. The FDPA offers

 some possible mitigating factors, but the list begins by saying that “the finder of fact

 shall consider any mitigating factor” and the last listed factor is called “other factors,”

 so the defense has broad latitude with mitigators. 18 U.S.C. § 3592(a). The FDPA also

 lists 16 statutory aggravating factors, and says that the jury “may consider whether any

 other aggravating factor for which notice has been given exists.” 18 U.S.C. § 3592(c). The

 FDPA doesn’t list non-statutory factors (hence the name “non-statutory”), but it



                                               5
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1313        filed 01/12/15   page 6 of
                                             33

 references them, naming victim impact in particular: “The factors for which notice is

 provided under this subsection may include factors concerning the effect of the offense

 on the victim and the victim’s family, and may include oral testimony, a victim impact

 statement that identifies the victim of the offense and the extent and scope of the injury

 and loss suffered by the victim and the victim’s family, and any other relevant

 information.” 18 U.S.C. § 3593(a).

                                       DISCUSSION

        Briseño’s motion attacks the death penalty generally, and also addresses the

 specific aggravating factors underlying the government’s seeking of the death penalty

 in Briseño’s case. Such motions are common practice in recent cases involving capital

 punishment, and the arguments propounded here aren’t new. See, e.g., United States v.

 Williams, No. 4:08-cr-00070, 2013 U.S. Dist. LEXIS 45323 (M.D. Pa. Mar. 29, 2013); United

 States v. Runyon, No. 4:08cr16-3, 2009 U.S. Dist. LEXIS 1770 (E.D. Va. Jan. 9, 2009).

 Briseño frames his argument in seven parts. At the risk of sounding reductive,

 arguments 1 through 5 and 7 challenge the mechanism and existence of capital

 punishment generally. These arguments have been considered in nearly every, if not

 every, federal capital case in recent decades. I won’t reinvent the wheel here, although

 I’ll briefly review each argument. Briseño bears the burden of proving that the FDPA is

 unconstitutional because the law was duly enacted by Congress and is therefore



                                              6
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313       filed 01/12/15    page 7 of
                                               33

 presumed constitutional. See United States v. Sampson, 486 F.3d 13, 20 (1st Cir. 2007)

 (citing INS v. Chadha, 462 U.S. 919, 944 (1983); Lujan v. G & G Fire Sprinklers, Inc., 532

 U.S. 189, 198 (2001)).

        Part 6 of Briseño’s brief requests that certain aggravating factors alleged in this

 case be stricken, or that the government at least be required to particularize the

 allegations underlying these factors. These factors, like the general arguments against

 capital punishment, have been thoroughly litigated and addressed in judicial opinions,

 and I will rely on the reasoning of those opinions in my discussion.

                          General Challenges to Capital Punishment

        Briseño’s first argument is that the death penalty operates in an arbitrary,

 capricious, irrational, and discriminatory manner. (DE 1027 at 32-68.) The argument is

 that the death penalty is applied so arbitrarily that it can’t be claimed that there is a

 rational basis for applying it in the few cases in which the government seeks it – it is

 compared to the randomness of being struck by lightning. Briseño attempts to connect

 his argument to the Supreme Court’s decision striking down Georgia’s capital

 punishment statute in effect in 1972. See Furman v. Georgia, 408 U.S. 238 (1972). Like

 offenders are not treated alike, Briseño argues. He claims that it is pure chance whether

 a defendant is subjected to a capital trial, and further chance whether the jury imposes a

 capital sentence – part dumb luck, and part unconstitutional distinguishing factors like



                                               7
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313       filed 01/12/15    page 8 of
                                               33

 the defendant’s race, the victim’s race and gender, and in what part of the country the

 crime was committed. Briseño cites to extensive statistics and case summaries to

 support his points.

        This first argument has been made by other defendants and rejected at length by

 other courts. See, e.g., McCleskey v. Kemp, 481 U.S. 279, 306-07 (1987) (absent showing

 that death penalty operates arbitrarily and capriciously, defendant can’t prove

 constitutional violation by showing similarly situated defendants did not receive death

 penalty); United States v. Sampson, 486 F.3d 13, 23-26 (1st Cir. 2007) (death penalty

 discretion must be directed so verdicts are reasoned and individualized; government

 process for seeking death penalty has numerous procedural safeguards; case summaries

 can’t capture the factors unique to each case that lead to verdict; to prevail under Equal

 Protection Clause defendant must prove purposeful discriminatory in his own case);

 United States v. Mitchell, 502 F.3d 931, 981-83 (9th Cir. 2007) (no right to “inter-case

 proportionality review”; statistical data about disproportionate impact of death penalty

 is insufficient to prove unconstitutionality; rarity of federal executions doesn’t render

 FDPA unconstitutional).

        I’ll only go on briefly to point out some of the flaws of the deployment of the first

 argument in this case. Anytime a decisionmaker has discretion, facially similar cases are

 going to turn out differently because every case is unique. The Supreme Court’s concern



                                               8
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313       filed 01/12/15    page 9 of
                                              33

 in Furman and since is not the existence of discretion, but of unguided discretion. As the

 brief overview of the FDPA above demonstrates, the federal death penalty is highly

 structured. The fact that the government is selective in seeking the death penalty and

 juries are even more careful in applying it isn’t an argument against it. The defense’s

 elevator pitch versions of the facts of various cases can’t do justice to the unique facts

 and circumstances in each murder case that lead to the verdict, and can’t prove that the

 death penalty is applied arbitrarily. Briseño stands accused of six murders, seven

 attempted murders, and various other crimes and acts of violence committed in

 connection with the activity of a street gang. This case is distinguishable from other

 murder cases, and Briseño is distinguishable from his co-defendants, so the fact that he

 is the only one facing a capital charge isn’t proof of arbitrariness. Briseño hasn’t met his

 burden of proving that the FDPA is unconstitutionally arbitrary and capricious.

 Additionally, several of his arguments don’t actually apply to him or to this case.

 Indiana is not in the defense’s regional “death belt.” None of the alleged murder victims

 were women (statistically more likely to lead to capital punishment). The defense

 doesn’t allege that juror bias based on interracial murder will be an issue based on the

 victims in this case.

        Second, Briseño argues that the current federal death penalty statute, the Federal

 Death Penalty Act of 1994 (“FDPA”), was invalidated by Ring v. Arizona, 536 U.S. 584



                                               9
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313        filed 01/12/15    page 10 of
                                               33

  (2002). (DE 1027 at 68-95.) That is, under the FDPA a defendant isn’t eligible for the

  death penalty unless the government proves beyond a reasonable doubt to the jury that

  the defendant acted with one of the four possible threshold intents and that at least one

  statutory aggravating factor applies. See 18 U.S.C. § 3591(a)(2), 3592, 3593(b) - (e).

  Therefore, Briseño argues, these factors increase the maximum possible sentence, and so

  must be brought before the grand jury and charged by indictment based on the

  reasoning in Apprendi v. New Jersey, 530 U.S. 466 (2000). The problem with this argument

  is that the government did precisely that in this case. But Briseño’s rejoinder is that by

  doing so the government exceeded its authority under the FDPA. The FDPA states that

  the government must notify the defendant if it intends to seek the death penalty and, if

  so, what aggravating factors the government will try to prove. See 18 U.S.C. § 3593(a).

  But the FDPA is silent about the function of the grand jury with respect to aggravating

  factors. Briseño claims this invalidates the FDPA, and prosecutors simply deciding to

  present aggravating factors to the grand jury, or courts ordering them to, is an

  impermissible usurpation of the legislature’s powers.

         Courts have rejected the Ring argument and allowed the government’s

  presentation of the death penalty gateway factors to the grand jury. See United States v.

  Mikos, 539 F.3d 706, 715-16 (7th Cir. 2008) (“Ring does not hold or imply that any part of

  the Federal Death Penalty Act is unconstitutional.”); United States v. Fell, 531 F.3d 197,



                                               10
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313        filed 01/12/15      page 11 of
                                               33

  237 (2d Cir. 2008); United States v. Sampson, 486 F.3d 13, 21-22 (1st Cir. 2007) (collecting

  cases); United States v. Mitchell, 502 F.3d 931, 979 (9th Cir. 2007). The FDPA is not facially

  unconstitutional because Ring doesn’t say anything contrary to it. United States v. Lecroy,

  441 F.3d 914, 921 (11th Cir. 2006) (collecting cases) (“The major flaw in [this] argument

  is that nothing in the Act forbids, or is inconsistent with, prosecutors’ taking the

  additional step of including the statutory aggravating factors in the indictment and

  submitting same to the grand jury.”). Ring works a change in criminal procedure, which

  is properly in the courts’ bailiwick. Sampson, 486 F.3d at 21-22 (collecting cases). But

  preparing the Indictment for the grand jury’s review and approval is squarely within

  the purview of the executive branch of government. Presenting aggravating factors to

  the grand jury isn’t something that requires legislation, it doesn’t require a big shift or

  creation of any new procedures or decisionmaking bodies, or even the drafting of new

  and exotic written instruments. Sampson, 486 F.3d at 22-23.

         Third, Briseño argues that the special findings in the Superseding Indictment

  underlying the capital charges should be stricken and the NOI dismissed because the

  Indictment violates the Fifth Amendment. (DE 1027 at 95-107.) The argument is

  basically that the grand jury didn’t hear the full story when it voted on the capital

  Indictment, and just saw the capital eligibility factors out of context, so couldn’t fully

  consider whether Briseño should be charged with capital offenses. The grand jury voted



                                               11
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313       filed 01/12/15    page 12 of
                                               33

  on the required intent and the statutory aggravating factors, but it wasn’t told that these

  were threshold factors for a capital charge, and the grand jury wasn’t informed of the

  non-statutory aggravators or the mitigating factors, which must also be weighed in

  determining whether a death sentence is justified.

         This third argument, too, has been thoroughly considered by courts and has been

  found wanting. As established above in the address of the Ring argument, the grand

  jury must consider any factor that can increase the maximum possible sentence, not all of

  the factors the petit jury will consider in deciding the actual sentence. The grand jury

  considered the threshold factors for death penalty eligibility, and once the grand jury

  found that those were met, Briseño became eligible for the death penalty; that is the

  maximum possible sentence there is, so no other factors could increase the possible

  sentence, and no other factors need be included in the indictment. United States v. Fell,

  531 F.3d 197, 236-38 (2d Cir. 2008) (collecting cases) (“Whether or not [the defendant]

  should be sentenced to death was a calculation made by the jury based on a variety of

  statutory and non-statutory considerations. Accordingly, the factors that [the

  defendant’s] jury assessed when determining the permissibility of the death penalty in

  his case did not change the maximum sentence authorized under the statute. . . . [T]he

  government’s failure to include the non-statutory aggravating factors in the indictment

  did not violate the Fifth Amendment.”); see also, United States v. Mitchell, 502 F.3d 931,



                                               12
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15      page 13 of
                                                33

  979 (9th Cir. 2007); United States v. Lecroy, 441 F.3d 914, 922 (11th Cir. 2006).

  (“[N]onstatutory aggravating factors need not be included in the indictment.

  Nonstatutory factors are considered only after a defendant has been rendered death-

  eligible by a finding—from both the grand and petit juries—of the normal elements of

  the crime (including mens rea) and at least one statutory aggravating factor. Non-

  statutory factors do not operate to increase the potential punishment of a defendant,

  thus potentially triggering the indictment requirements . . . .”; discussing like outcomes

  in Higgs v. United States, 353 F.3d 281, 298-99 (4th Cir. 2003), and United States v.

  Bourgeois, 423 F.3d 501 (5th Cir. 2005)). For the same reason, the grand jury doesn’t need

  to consider the mitigating factors or weigh the mitigators and aggravators. See United

  States v. Purkey, 428 F.3d 738, 749-50 (8th Cir. 2005) (“[I]t makes no sense to speak of the

  weighing process mandated by 18 U.S.C. § 3593(e) as an elemental fact for which a

  grand jury must find probable cause.”).

         Fourth, Briseño argues that the FDPA doesn’t provide an adequately structured

  approach to allow the jury to make a reasoned decision between execution and a

  sentence of life imprisonment without the possibility of parole. (DE 1027 at 107-14.) The

  upshot of this argument is that the FDPA’s process for death penalty cases is so

  complicated juries can’t possibly understand and properly implement it. Briseño’s brief

  cites statistics from various articles and studies that purport to show that jurors wildly



                                                13
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313        filed 01/12/15    page 14 of
                                               33

  misconstrue the instructions that they’re given on key points in death penalty cases. But

  as was the issue with the defense’s copious statistics on other points, statistics about

  other cases won’t convince me that the jury in this case isn’t going to be able to

  understand what I tell them. See Marshall v. Lonberger, 459 U.S. 422, 438 n.6 (1983) (“the

  ‘crucial assumption’ underlying the system of trial by jury ‘is that juries will follow the

  instructions given them by the trial judge.’”(quoting Parker v. Randolph, 442 U.S. 62, 73

  (1979))). Defense counsel will have a hand in preparing the jury instructions in this case,

  and can bring with them the knowledge gained from the studies they cite. See, e.g.,

  United States v. Williams, No. 4:08-cr-00070, 2013 U.S. Dist. LEXIS 45323, at *52-53 (M.D.

  Pa. Mar. 29, 2013). Beyond that, even if I were to believe that the statistics could prove a

  rule, I’m not convinced of the accuracy of the figures – the outcomes of a study depend

  heavily on the way questions are asked, when they’re asked, who decides to participate,

  and a slew of other factors. I join the other courts that have rejected the argument that

  the FDPA is unconstitutional because it causes crippling juror confusion. See, e.g.,

  Williams, 2013 U.S. Dist. LEXIS 45323, at *52-53; United States v. Runyon, No. 4:08cr16-3,

  2009 U.S. Dist. LEXIS 1770, at *4-5 (E.D. Va. Jan. 9, 2009); United States v. Regan, 228 F.

  Supp. 2d 742, 746-47 (E.D. Va. 2002).

         I’ve been studying the FDPA for the past year in preparation for this case,

  counsel for this case have been working on it for even longer, and while I won’t deny



                                                14
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313       filed 01/12/15    page 15 of
                                               33

  we have our work cut out for us in helping the jury through the process, I’m confident

  we’re up to it. Briseño’s motion is useful going forward in flagging some of the issues

  that we’ll need to be especially conscious of if the time comes to discuss and draft

  penalty phase jury instructions. These include the effect of non-unanimity among the

  jurors, different standards of proof and unanimity requirements for mitigators and

  aggravators, and the all-important concept that the penalty is a gestalt decision, a

  weighing of factors that is qualitative, not quantitative. The jurors will be instructed that

  they cannot arrive at their decision by simply adding up the factors on either side of the

  balancing.

         Fifth, Briseño argues that the death penalty should be invalidated due to the risk

  of executing innocent people. (DE 1027 at 114-20.) It’s not clear exactly which provisions

  of the Constitution the defense is invoking here, but it seems most like an argument that

  capital punishment violates Fifth Amendment substantive due process because

  innocent people will inevitably be executed. Other capital defendants have made a

  procedural due process argument that they are entitled to seek exoneration for as long

  as it takes, meaning until the end of their natural lifespan, because exoneration often

  takes decades. The two due process arguments fail for the same reasons.

         To be sure, the prospect of an innocent person being executed is one of the most

  disturbing things that one could ever imagine. But Supreme Court opinions have



                                               15
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15    page 16 of
                                                33

  acknowledged that grim reality and neither Congress nor the Supreme Court has been

  swayed by that troubling possibility. I am foreclosed from blazing that trail, and so I

  adopt the reasoning of the other courts that have rejected this argument. See, e.g., United

  States v. Sampson, 486 F.3d 13, 27-29 (1st Cir. 2007); United States v. Mitchell, 502 F.3d 931,

  983 (9th Cir. 2007) (“The danger of executing the innocent is one the Supreme Court has

  long been aware of.”); United States v. Quinones, 313 F.3d 49, 62-69 (2d Cir. 2002)

  (“Herrera [v. Collins, 506 U.S. 390 (1993)] prevents us from finding capital punishment

  unconstitutional based solely on a statistical or theoretical possibility that a defendant

  might be innocent.”); United States v. Williams, No. 4:08-cr-00070, 2013 U.S. Dist. LEXIS

  45323, at *53-57 (M.D. Pa. Mar. 29, 2013) (collecting cases). In sum, due process entitles a

  person to process, to full exercise of the prescribed legal remedies, but once these are

  exhausted he is not due any additional process. Due process vastly increases the

  likelihood of getting the right answer, but doesn’t guarantee it, and due process isn’t

  violated simply by the possibility of a wrong answer.

         Finally, Briseño’s last argument against the death penalty generally is that

  evolving standards of decency render capital punishment unconstitutional and require

  its abolishment. (DE 1027 at 151-54.) Volumes have been written arguing for and against

  this argument in an effort to gauge the standards of American decency. It’s a hard

  concept to get your mind around. But for present purposes, it is enough to say that in a



                                                16
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313        filed 01/12/15    page 17 of
                                               33

  hierarchical system of courts, I have to do as I’m told, and my marching orders from the

  Supreme Court make clear that we have not evolved as a society beyond the death

  penalty. See, e.g., United States v. Sampson, 486 F.3d 13, 29 (1st Cir. 2007) (“Because Gregg

  [v. Georgia, 428 U.S. 153 (1976)], Roberts [v. Louisiana, 428 U.S. 325 (1976)], and Chapman

  [v. United States, 500 U.S. 453 (1991),] are binding upon us, we reject [the defendant’s]

  bedrock claim and hold that the death penalty itself is not unconstitutional.”); United

  States v. Quinones, 313 F.3d 49, 61-70 (2nd Cir. 2002) (extensive discussion of the history

  and tradition of the death penalty; “[i]n sum, if the well-settled law on this issue is to

  change, that is a change that only the Supreme Court or Congress is authorized to

  make”) (citing, et seq., Herrera v. Collins, 506 U.S. 390 (1993); Chapman, 500 U.S. 453;

  Gregg, 428 U.S. 153); United States v. Williams, No. 4:08-cr-00070, 2013 U.S. Dist. LEXIS

  45323, at *65-66 (M.D. Pa. Mar. 29, 2013).

         In sum, while Briseño raises interesting points and ample fodder for civic debate,

  his is not the case and this is not the Court in which capital punishment will be found

  unconstitutional.

                      Specific Challenges to Alleged Aggravating Factors

         Moving back to Briseño’s sixth point, some discussion of individual aggravating

  factors is necessary. (See DE 1027 at 120-51.) At the hearing on Briseño’s motion, I




                                                17
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313       filed 01/12/15    page 18 of
                                                33

  ordered the government to provide additional information on certain aggravators, so to

  that extent the defense’s motion has been granted in part already.

         I’ll also note at this point that, regardless of the limits of this Opinion and Order,

  I of course retain the authority to exclude evidence at any stage of the trial, and I notify

  the parties that I will consider their objections and I may also act sua sponte. During the

  guilt phase, when it comes to the issue of relevance, I’ll make this determination based

  on Federal Rule of Evidence 403, which permits me to “exclude relevant evidence if its

  probative value is substantially outweighed by a danger of one or more of the

  following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

  wasting time, or needlessly presenting cumulative evidence.” During the penalty phase

  — if we get there at all —“information may be excluded if its probative value is

  outweighed by the danger of creating unfair prejudice, confusing the issues, or

  misleading the jury.” 18 U.S.C. § 3593(c). Note the difference: while the Rule 403

  balancing requires probative evidence to be excluded if it is substantially outweighed by

  unfair prejudice etc., the standard is different at the penalty phase. It is a true balance;

  the word “substantial” doesn’t appear.

         Moving on to the substance of Briseño’s claim, I’ll start with the standard of

  review for factors that the jury will be instructed to use in weighing the penalty. The

  death penalty decision is meant to be an individualized one, which means there can’t be



                                                18
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313         filed 01/12/15    page 19 of
                                                33

  a one-size-fits-all answer, and it is inevitable that jurors will be relied upon to exercise

  wide discretion, tempered by their judgment and reason. “Because the proper degree of

  definition of eligibility and selection factors often is not susceptible of mathematical

  precision, [the Supreme Court’s] vagueness review is quite deferential. Relying on the

  basic principle that a factor is not unconstitutional if it has some common-sense core of

  meaning that criminal juries should be capable of understanding, [the Supreme Court

  has] found only a few factors vague . . . .” Tuilaepa v. Cal., 512 U.S. 967, 973-74 (1994)

  (quotation marks, ellipsis, citations omitted); see also, Jones v. United States, 527 U.S. 373,

  400-02 (1999). There is “a long line of Supreme Court cases that have emphasized the

  importance of allowing the sentencing body to have full and complete information

  about the defendant.” United States v. Fell, 360 F.3d 135, 143 (2d Cir. 2004). “Indeed, the

  sentencer may be given unbridled discretion in determining whether the death penalty

  should be imposed after it has found that the defendant is a member of the class made

  eligible for that penalty.” Tuilaepa v. Cal., 512 U.S. 967, 979-80 (1994) (quotation marks,

  citations omitted).

         Briseño’s motion challenges the statutory aggravating factor of substantial

  planning and premeditation, which is alleged in each of the six charged murders. He

  also challenges the non-statutory aggravators of victim impact and future

  dangerousness, and in particular he challenges separately the future dangerousness



                                                19
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1313        filed 01/12/15     page 20 of
                                                 33

  sub-factor of “lack of remorse.” In addition to challenging their use, Briseño’s motion

  seeks information about what the government intends to try to prove with respect to

  each of these aggravating factors. I’ll address each challenged aggravator.

         Substantial Planning

         Briseño argues that “substantial planning and premeditation” is vague. He asks:

  when does planning go from minimal or moderate on the one hand, to substantial on

  the other? Reasonable people could debate the issue — and perhaps that is just the

  point. It’s simply a matter for the jury to debate and sort out using their experience and

  commonsense. Courts that have considered the issue have held that the term

  “substantial planning” isn’t too vague for juries to understand and apply. See, e.g.,

  United States v. Sampson, 335 F. Supp. 2d 166, 210 (D. Mass. 2004) (“The statute states

  that there must be substantial premeditation and planning. In this context, the court

  construes ‘substantial’ to mean ‘large.’ Defining ‘substantial’ as ‘large’ is both

  appropriate and comports with a common-sense understanding of the word.” (citing

  United States v. McCullah, 76 F.3d 1087, 1110-11 (10th Cir. 1996); additional citation

  omitted); see also, United States v. Fields, 516 F.3d 923, 940 (10th Cir. 2008); United States v.

  Barnette, 390 F.3d 775, 786 (4th Cir. 2004) (“’Substantial planning and premeditation,’ as

  included in the statutory aggravating factor of § 3592(c)(9), means ‘”a higher degree of

  planning than would have the words ‘planning and premeditation’ alone - i.e., more



                                                 20
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15   page 21 of
                                                33

  than the minimum amount sufficient to commit the offense.”’” (citations omitted)),

  vacated on other grounds, 546 U.S. 803 (2005); United States v. Bin Laden, 126 F. Supp. 2d

  290, 296 and 296 n.7 (S.D.N.Y. 2001) (collecting cases). Some of these cases offer

  definitions, but I don’t find any of them to be particularly helpful — reasonable people

  know what the word substantial means and can apply it through the lens of their

  everyday experience. In all events, that is a matter to be decided when we argue jury

  instructions. For now, it is enough to say that the term is not vague.

         Taking a slightly different tack, Briseño also argues that all murders can be said

  to involve substantial planning, so this aggravating factor doesn’t do its job of

  narrowing the class of people eligible for the death penalty. This is not so, again as

  courts have held. See, e.g., United States v. Williams, No. 4:08-cr-00070, 2013 U.S. Dist.

  LEXIS 45323, at *78-80 (M.D. Pa. Mar. 29, 2013) (collecting cases).

         Moving on to the specifics of the substantial planning factor, there is a hiccup in

  the government’s allegations. The government’s response brief indicates that it has two

  theories of substantial planning. One is the usual sense in which I would think of this

  factor – an allegation that Briseño formed a particular plan to kill then carried out that

  plan. In this form, this aggravating factor has been widely accepted by other courts, and

  I’ve adopted the reasoning of those courts.




                                                21
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313       filed 01/12/15    page 22 of
                                               33

          The second theory is the argument that the IGs’ “shoot-on-sight” policy qualifies

  as substantial planning in each of the six specific murders charged against Briseño. The

  government provided me with no authority supporting the second theory. The

  government did try, stretching United States v. McCullah, 76 F.3d 1087 (10th Cir. 1996),

  very thin. In McCullah the defendant and his co-conspirators spent weeks planning the

  murder of a guy named Mr. Rogers. Rogers operated a used car dealership. McCullah

  was to lure Rogers to the ambush site in the guise of a prospective used car buyer. But

  then, as bad luck would have it (for everyone but Rogers), on the day of the ambush

  Rogers was unavailable, so he sent an employee on the test drive with McCullah.

  Instead of calling off the plan on account of having the wrong victim in the car,

  McCullah drove to the ambush then hurried out of the car and let his comrades kill the

  wrong victim. Having a very elaborate plan but springing the trap on the wrong victim

  is nothing like, and doesn’t support, the government’s shoot-on-sight theory in this

  case.

          Substantial planning as an aggravating factor for the charged murder means

  substantial planning for that murder. It doesn’t mean a generally violent lifestyle, a

  general willingness or even eagerness to kill, or a habit of carrying a weapon. See, e.g.,

  United States v. Roman, 371 F. Supp. 2d 36, 46-47 (D.P.R. 2005) (holding no reasonable

  juror could find substantial planning in murder committed during armed robbery



                                               22
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313       filed 01/12/15    page 23 of
                                               33

  “where the evidence shows no planning to commit murder prior to defendants’ arrival

  at the scene, and at most one minute of planning during the commission of the crime”;

  “the possession of a weapon is not alone enough to infer a substantial plan to commit

  the murder of a specific person”). Briseño’s motion to strike the substantial planning

  and premeditation factor is therefore GRANTED as to the government’s shoot-on-

  sight theory only.

         To make sure the government wasn’t relying completely on the second, shoot-

  on-sight substantial planning theory for any of the murders, during the hearing on

  Briseño’s motion I asked the government to describe its theory of substantial planning

  for each of the six murders, and it did so. To this extent, Briseño’s request for

  particularization (DE 1027 at 131) on this factor was GRANTED. The government

  provided a basis other than the general shoot-on-sight theory for each murder, although

  it was fairly thin for the murder of Harris Brown charged in count 17. The proffered

  basis for that murder was IG discussions around the time of the murder about the rival

  Black P. Stones gang members dealing drugs in IG territory, and the need to keep them

  away. This is more than a general gang policy of shooting rivals on sight, it’s shooting a

  member of a particular gang for a particular reason.

         After hearing the evidence at trial, I will be in a better position to determine

  whether the murder of Harris Brown involved “substantial planning.” If the evidence is



                                               23
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15    page 24 of
                                                33

  insufficient to establish substantial planning on the Brown murder (or any other

  murders for that matter), I can reconsider my ruling and strike that part of the notice at

  that time. But for now, the government’s proffer was at least sufficient to proceed to

  trial with the substantial planning factor on all six murders.

         Victim Impact

         Briseño argues that the victim impact factor as alleged is unconstitutionally

  vague, lacking in specifics, broader than permitted by statute, and doesn’t narrow the

  class of death-eligible defendants. However, such evidence is an accepted part of death

  penalty trials, and in fact is mentioned in the FDPA. See 18 U.S.C. § 3593(a); Jones v.

  United States, 527 U.S. 373, 402 (U.S. 1999) (“[A]s we have made clear, victim

  vulnerability and victim impact evidence are appropriate subjects for the capital

  sentencer’s consideration.”); Payne v. Tennessee, 501 U.S. 808, 823, 827 (1991); see also,

  United States v. McVeigh, 153 F.3d 1166, 1217 (10th Cir. 1998) (“Payne allows the

  prosecution to introduce evidence during the penalty phase that provides a quick

  glimpse of the life petitioner chose to extinguish in order to show the value of the

  victim’s loss to society. However, Payne did not overrule the prohibitions in Booth [v.

  Maryland, 482 U.S. 496 (1987),] against the admission of information concerning a

  victim’s family members’ characterization of and opinions about the crime, the

  defendant, and the appropriate sentence.” (quotation marks, citations omitted.)). It does



                                                24
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1313        filed 01/12/15    page 25 of
                                               33

  serve to individualize the penalty determination in any given case because the victim

  impact evidence will be different for each victim or victims.

         Briseño’s overbreadth challenge refers to the government’s inclusion of the

  impact on the victims’ friends, as well as family, in the statement of the victim impact

  factor in the NOI. While the FDPA only specifically references the impact on the

  victim’s family, and not friends, the language is not exclusionary: “The factors for

  which notice is provided under this subsection may include factors concerning the

  effect of the offense on the victim and the victim’s family, and may include oral

  testimony, a victim impact statement that identifies the victim of the offense and the

  extent and scope of the injury and loss suffered by the victim and the victim’s family,

  and any other relevant information.” 18 U.S.C. § 3593(a). The FDPA’s list of aggravators

  also ends by saying that the jury “may consider whether any other aggravating factor

  for which notice has been given exists.” 18 U.S.C. § 3592(c). This language is broad

  enough to allow for the testimony of a victim’s friend who was impacted by his death.

  See United States v. Barrett, 496 F.3d 1079, 1099 (10th Cir. 2007) (“Two features of this

  statutory language are important to note. First, it expressly indicates that a victim

  impact statement may identify the victim and outline the extent and scope of the injury

  and loss suffered by the victim and his family. Second, and perhaps more importantly,

  the use of the phrases ‘may include’ and ‘any other relevant information’ clearly



                                               25
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1313         filed 01/12/15    page 26 of
                                                 33

  suggests that Congress intended to permit the admission of any other relevant

  evidence, including, as authorized by Payne, evidence giving the jury a glimpse of the

  victim’s personality and the life he led[, including the testimony of the victim’s

  friends].”); see also United States v. Fields, 516 F.3d 923, 946-47 (10th Cir. 2008).

         Briseño’s request for additional information about this factor was GRANTED

  during the hearing, and the government described the evidence it intends to introduce.

  The government will call one or two people impacted by the death of each murder

  victim to talk about the victim, the victim’s life, and the effect of losing him. (I am

  inclined to limit the government to one witness per victim, but that matter can be taken

  up later at the penalty phase of the trial, should we get there). My intention is to allow

  only very limited testimony, and indeed the government agrees. At the hearing, the

  prosecutor told me that he anticipates that direct examination of each victim impact

  witness is unlikely to last more than about 10 minutes. There will likely be a photo

  showing each victim when they were alive, but there won’t be any multimedia, photo

  montage or video presentations during the victim impact part of the hearing, other than

  a clip from a news segment that shows an interview with murder victim Miguel Colon.

  The government must provide the defense with a list of victim impact witnesses by

  February 13, 2015.




                                                 26
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1313        filed 01/12/15   page 27 of
                                              33

         There are two other matters to briefly address related to victim impact testimony.

  At the hearing I ordered the government to provide the defendant and the Court a copy

  of the Colon video clip as soon as practicable (the government had only recently learned

  of the news story’s existence). The government is now reminded of that order. Also, if

  the government’s plans for victim impact evidence change materially from the

  government’s representation at the hearing, as described in this Order, the government

  is ORDERED to notify the Court and the defense before attempting to offer the

  additional evidence before the jury.

         Future Dangerousness

         The government’s alleged “future dangerousness” factor has three sub-factors:

  (1) low potential for rehabilitation as demonstrated by repeated criminal violent acts; (2)

  a willingness to take human life and a lack of remorse for acts of violence as

  demonstrated by statements made after violent acts; and (3) a stated desire to impose a

  rule requiring IGs to shoot at members of rival gangs on sight. Briseño argues that

  future dangerousness is too vague, may be seen by jurors as applying to all murderers,

  and is impossible to reliably predict. He also wants to clarify the scope of the

  government’s future dangerousness argument, given that if Briseño is convicted of any

  of the death-eligible crimes then the only sentencing choice other than death is life in

  prison without the possibility of parole. Briseño argues that future dangerousness



                                              27
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15     page 28 of
                                                33

  should therefore be limited to the prison context. Briseño requested a hearing on this

  factor, which was GRANTED.

         The aggravating factor of future dangerousness has a distasteful odor to it

  reminiscent of Steven Spielberg’s Minority Report. It is nonetheless widely accepted and

  allowed by courts. See United States v. Corley, 519 F.3d 716, 723-24 (7th Cir. 2008)

  (accepting future dangerousness factor in addressing what evidence is admissible to

  demonstrate it); United States v. Johnson, 223 F.3d 665, 671 (7th Cir. 2000) (same); see also,

  United States v. Basham, 561 F.3d 302, 331 (4th Cir. 2009) (“The Supreme Court has

  recognized future dangerousness as a legitimate aggravating factor in capital

  proceedings.” (citation omitted.)); United States v. Bin Laden, 126 F. Supp. 2d 290, 303-04

  (S.D.N.Y. 2001) (“The Supreme Court has discussed with approbative language the

  submission of a defendant’s future dangerousness as a subject for a penalty jury’s

  consideration. Not surprisingly, lower courts have uniformly upheld future

  dangerousness as a non-statutory aggravating factor in capital cases under the FDPA,

  including instances where such factor is supported by evidence of low rehabilitative

  potential and lack of remorse.” (citations omitted.)). It is true that the concept of future

  dangerousness is one of the things judges consider every day when sentencing

  defendants. And a low potential for rehabilitation is not irrelevant here – those serving

  a life sentence are still people living among other people, and rehabilitation speaks to



                                                28
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15    page 29 of
                                                33

  their ability to function appropriately, and even constructively, in prison society. I will

  take up the lack of remorse sub-factor shortly, but for now I will say that I find it to be

  relevant to the sentencing decision and admissible, but with limits. The shoot-on-sight

  sub-factor, if found to be present, demonstrates a lack of regard for human life and

  general orderly society, and is therefore germane to future dangerousness.

         During the hearing on the Motion to Strike the Notice, the government mostly

  agreed that future dangerousness refers to the practical reality of Briseño’s future if he

  is convicted — his residence within the confines of the federal corrections system. That

  limitation makes sense to me because if we get to the penalty stage then the jury faces a

  binary choice for Briseño’s sentence: the death penalty or life in prison without parole.

  More importantly, the Supreme Court has held “that whenever future dangerousness is

  at issue in a capital sentencing proceeding . . ., due process requires that the jury be

  informed that a life sentence carries no possibility of parole.” Shafer v. S.C., 532 U.S. 36,

  51 (2001). I don’t mean that the government needs to belabor the binary nature of the

  choice — that will be noted in the jury instructions, and defense counsel may choose to

  address it — but I do mean that the government will not be permitted to mislead the

  jury or suggest that Briseño will somehow be dangerous to the general public. United

  States v. Fields, 516 F.3d 923, 942 (10th Cir. 2008) (“The aim is just to ensure that the jury




                                                29
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1313       filed 01/12/15   page 30 of
                                              33

  is not misled about a defendant’s future incarceration status when assessing evidence of

  his future dangerousness.“)

        This contextual limitation doesn’t take the teeth out of the future dangerousness

  factor at all – prisons are well known to be violent places, and danger to other inmates

  and to prison personnel is certainly worthy of consideration. During the hearing the

  government went off on a tangent about a hypothetical prison break and Briseño’s

  hypothetical danger to the general public while on the lam. That seems like such an

  unlikely event and a blatant attempt at fearmongering that I am disinclined to allow it.

  All sorts of things might happen. If Briseño were on trial for murdering someone after

  escaping from prison, this argument would be relevant. But the government didn’t

  suggest that Briseño was unusually likely to escape, and allowing argument about an

  escapee on a rampage seems unfairly prejudicial, and also to fly in the face of the

  individualized, personalized consideration that the death penalty must be based on.

        One additional issue that arises under the future dangerousness factor is that of

  the government’s use of unadjudicated criminal conduct to demonstrate future

  dangerousness. During the hearing I asked the government if they intended to

  introduce evidence of any unadjudicated conduct during the penalty phase, should

  there be one. The government pointed out that the criminal enterprise conspiracy

  charge of the Indictment (under 18 U.S.C. § 1962(d)) will involve evidence of many



                                              30
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1313         filed 01/12/15    page 31 of
                                                 33

  crimes that aren’t charged separately to prove the existence of the conspiracy and

  Briseño’s participation in it. The acts that the government may introduce as evidence of

  the enterprise are detailed in the Indictment, and in the government’s Notice of Intent to

  Introduce Enterprise Evidence and a supplement to it. (DE 732, 1198.)

         The government said that the only evidence of unadjudicated conduct it will

  attempt to introduce at the sentencing phase will be testimony about alleged animal

  cruelty to ducks. The government stated during the hearing that this evidence is

  relevant to future dangerousness. The only sub-factor within which it could fall is the

  first, a low potential for rehabilitation as demonstrated by repeated violent criminal

  acts. I am not making a final determination now, but I remind the government that I

  will very carefully scrutinize evidence of unadjudicated criminal conduct to ensure that

  the evidence is reliable and not unduly prejudicial. See United States v. Corley, 519 F.3d

  716, 723-26 (7th Cir. 2008). With this in mind, the government is ORDERED to notify

  the Court in advance of any attempt to introduce to the jury evidence of any

  unadjudicated criminal conduct not previously disclosed for an evaluation of

  admissibility.

         Briseño also takes issue with the lack of remorse sub-factor separately, claiming

  that it violates his rights to remain silent and to a fair trial, and that it’s inherently

  unreliable. This aggravating factor, in principle, is not a controversial one. See, e.g.,



                                                 31
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15    page 32 of
                                                33

  United States v. Mikos, 539 F.3d 706, 718 (7th Cir. 2008) (the Supreme Court has approved

  the lack of remorse factor (citing Zant v. Stephens, 462 U.S. 862, 886 n.22 (1983))). I agree

  with Briseño, however, that it needs clarification in this case. His request for

  particularization is therefore GRANTED, and that particularization was provided in the

  government’s response brief and further clarified during the hearing. The government’s

  brief explains that it doesn’t intend this factor to get at Briseño’s decision not to testify

  or express remorse during the trial. (DE 1062 at 76.) What the government wants to

  introduce is evidence that Briseño “admitted his conduct to others, bragged about it,

  and encouraged others to do the same.” (Id.) That sort of evidence is germane to the

  sentencing decision, and is not categorically inadmissible, subject to my gatekeeping

  determinations and the evidence actually showing callousness and braggadocio about

  violent acts. See, e.g., United States v. Walker, 910 F. Supp. 837, 855 (N.D.N.Y 1995)

  (striking lack of remorse factor based on evidence of statements showing “callousness”

  and “defiance” because the statements were more unfairly prejudicial than probative

  and were too trivial to bear the weight of being an aggravating factor).

         However, Briseño’s point about the nomenclature is well taken. Until the

  government explained its intention for this factor I was genuinely uncertain what was

  intended, and the natural meaning of the phrase “lack of remorse” does suggest

  something other than what the government intends. See, e.g., United States v. Roman, 371

  F. Supp. 2d 36, 50 (D.P.R. 2005) (“There must be a showing of continuing glee,
                                                32
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1313        filed 01/12/15    page 33 of
                                                33

  boastfulness, or other affirmative conduct which indicates a pervading and continuing

  lack of remorse following the criminal conduct. In addition, the government may not

  urge the applicability of the aggravator on information that has a substantial possibility

  of encroaching on the defendants’ constitutional right to remain silent.” (citations

  omitted.)). I will not strike this factor at this time, but I will closely monitor the evidence

  adduced at trial to ascertain whether it actually demonstrates a lack of remorse in a

  sense that is appropriate to constitute a non-statutory aggravating factor.

                                        CONCLUSION

         FOR THE FOREGOING REASONS, Defendant Briseño’s Motion to Strike the

  Notice of Aggravating Factors or for Additional Particularization is GRANTED IN

  PART AND DENIED IN PART, as described in this Opinion and Order. (DE 1027.)

         SO ORDERED.

         ENTERED: January 12, 2015

                                              /s/ Philip P. Simon
                                              PHILIP P. SIMON, CHIEF JUDGE
                                              UNITED STATES DISTRICT COURT




                                                33
